                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                    3:10-CR-00238-RJC
 USA                                                 )
                                                     )
     v.                                              )                      ORDER
                                                     )
 MILTON EARL ADAMS                                   )
                                                     )

          THIS MATTER is before the Court upon motion of the defendant, pro se, for immediate

release from custody. (Doc. No. 733).

          The defendant asserts that he has provided assistance to law enforcement, but that his

lawyer has not filed a motion for a reduction of sentence on his behalf. Federal Rule of Criminal

Procedure 35(b) clearly states that the government must file a motion before the Court can

reduce a sentence based on substantial assistance. United States v. Francois, 889 F.2d 1341, 1345

(4th Cir. 1989).

          IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

          The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.


                                                 Signed: January 20, 2016




                                                 SEALED DOCUMENT with access to Specified Parties/Defendants.




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